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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

       Plaintiff,
 v.
                                                       Hon. Arthur J. Tarnow
 RONALD LABAN SEGARS,                                  Case No. 16-20222-3

       Defendant.

  ALDOUS BRANT COOK                          Kimberly W. Stout (P38588)
  Assistant United States Attorney           Kimberly W. Stout, PC
  411 W. Fort St, 20th FL                    370 E. Maple Rd., Third Floor
  Detroit, Michigan 48226                    Birmingham, Michigan 48009
  Attorney for the United States             (248) 258-3181
                                             Attorney for Ronald Segars


  REPLY TO GOVERNMENT”S RESPONSE TO EMERGENCY MOTION
               FOR COMPASSIONATE RELEASE

       Defendant Ronald Laban Segars (Segars”), through counsel, Kimberly W.

 Stout, humbly asks this Court to reduce his sentence to time served pursuant to 18

 U.S.C. § 3582(c)(1)(A)(i), as amended by the First Step Act of 2018 (“FSA”). Prior

 to the passage of the FSA, only the Director of the Bureau of Prisons (“BOP”) could

 move the court for compassionate release of a defendant. United States v. Petrossi,

 No. 1:17-CR-192, 2020 U.S. Dist. LEXIS 64972, at *8 (M.D. Pa. Apr. 14, 2020).

 However, the FSA now expressly permits a defendant to directly move the court

 under § 3582(c)(1)(A)(i). Under normal circumstances, a defendant may only seek


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 such relief from a court if either (1) “the defendant has exhausted all administrative

 rights to appeal the BOP’s failure to bring a motion on his behalf” or (2) “thirty days

 have elapsed since requesting that the warden of his facility initiate such action.”

 United States v. Paciullo, No. 15-CR-834 (KMW), 2020 U.S. Dist. LEXIS 65198,

 at *4 (S.D.N.Y. Apr. 14, 2020) (citing 18 U.S.C. § 3582(c)(1)(A)).

                                       EXHAUSTION

          The Sixth Circuit case of U.S. vs Waseem Alam1, decided today, supports

 Segars position that he has exhausted his administrative rights and should be

 considered for compassionate release. Although the Sixth Circuit held that Alam’s

 Motion should be dismissed pending exhaustion or 30 days, Alam had not yet been

 denied by the warden, rather, Alan “waited just 10 days after the warden’s receipt of

 his request to file his motion in federal court, not the required 30 days.” Here, Segars

 made his request on May 7, 2020, and was denied relief by the Warden on May 26,

 2020. Segars argues there are no further specific “administrative appeals” set forth

 in 18 U.S.C. 3583(c )(1)(A). Therefore, he has fully exhausted all administrative

 rights to appeal.

          If he is required to wait 30 days after his request that the warden of his facility

 initiate such action per the statute, the 30 days will expire June 7, 2020. June 7, 2020



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     U.S. v Alam, No. 15-cr-20351-2, 6th Cir. June 2, 2020, No. 20-1298, submitted with
          Government’s Reply brief.
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 is a mere 5 days from today’s date as Segars filed a request for release with the

 Warden on May 7, 2020 (actually June 6th or 4 days from today as May has 31 days

 in the month). Therefore, Segars urges this Court hold his Motion in abeyance until

 June 6 or 7, 2020 before deciding by Opinion.

       The Alam case’s remedy was dismissal. However, this case is distinguishable

 because the reasoning in Alam does not apply here. The Alam Court states that

 refiling a Motion after unsuccessful exhaustion makes sense since “additional

 insight…may be gleaned”. Here, there is nothing to be gleaned in 4-5 days. Holding

 the matter in abeyance would be akin to holding a habeas petition in abeyance while

 a petitioner exhausts state remedies, something frequently done in this District.

                SERIOUS NATURE OF HEALTH CONDITION

       George Bernard Shaw said that “youth is wasted on the young.” The cavalier

 dismissal of the fact that Segars had a stroke before entering prison and has

 hypertension by the Government highlights this acerbic adage. Like the kids in The

 Ozark gallivanting around in pools, middle and older age is far from their minds.

 Most health problems begin in middle age and progress into older ages. Segars had

 a stroke. He has hypertension PERIOD. His inability to care for himself in prison

 should he contract COVID-19 could be a death sentence. At his fiance’s home, he

 can isolate himself and practice all CDC recommendations.




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        The Government also believes there is no support for the compassionate

 release of a defendant with hypertension, only. However, in United States v Sawicz,

 No. 08-cr-287 (ARR), 2020 U.S. Dist. LEXIS 64418, at *1 (E.D.N.Y. Apr. 10,

 2020), the Defendant had hypertension and took the medication Lisinopril. He was

 granted release from FCI Danbury. The Court found hypertension could be deadly

 if the sufferer contracted COVID-19 in prison.



                                  CONCLUSION

        Senator Richard Joseph Durbin said about the BOP’s response to COVID-19

 and compassionate release that “[w]hen we turn the key in the lock on the door of a

 prison or detention facility we put our collective knees on the necks of the most

 vulnerable people in America. The question is whether we will listen to their pleas

 for life?”

        For the foregoing reasons, Defendant requests that this Honorable Court enter

 an order reducing Segars sentence and granting compassionate release.

                                              Respectfully Submitted,

 Date: Jun 2, 2020                            KIMBERLY W. STOUT, P.C.

                                              /s/ Kimberly W. Stout
                                              Kimberly W. Stout (P38588)
                                              Attorney for Defendants
                                              370 E. Maple Rd., Third Floor
                                              Birmingham, MI 48009


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                             PROOF OF SERVICE

                I hereby certify that on May 29, 2020, I electronically
                filed the foregoing paper with the Clerk of the Court
                using the ECF system which will send notification of
                such filing to counsel of record.

                               /s/ Kimberly W. Stout
                                KIMBERLY W. STOUT (P38588)
                                Attorney for Defendants
                                370 E. Maple Rd., Third Floor
                                Birmingham, MI 48009
                                248-258-3181




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